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i —

Civil Action No. 1:23-CV-02390-AT-JKL

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1)

This summons for LEXISNEXIS RISK SOLUTIONS c/o C T CORPORATION SYSTEM
was recieved by me on 8/02/2023:

Co 1 personally served the summons on the individual at fplace) on (date) ; or

ol I left the summons at the individuat's residence or usual place of abode with (name) , a person of suitable age and
discretion who resides there, on , and mailed a copy to the individual's last known address; or

i | served the summons on Jayne Richardson, SOP, who is designated by law to accept service of process cn behalf of
LEXISNEXIS RISK SOLUTIONS clo C T CORPORATION SYSTEM at 289 Culver Street South, Lawrenceville, GA
30046 on 08/04/2023 at 16:48 AM; or

Cl) | returned the summons unexecuted because ; or

Other (specify)

My fees are $ 0 for travel and $ 63.50 for services, for a total of $ 63.50.

| declare under penalty of perjury that this information is true.

AuG - 4 2023 [Vluraly Cecerveen, Z

Server's signature

Marsha Lausman
Printed name and title

3769 Tupelo Trail
Auburn, GA 30011

Server's address

Additional information regarding attempted service, etc:

{ delivered the documents to Jayne Richardson, SOP who identified themselves as the person authorized to accept
with identity confirmed by subject saying yes when named. The individual accepted service with direct delivery. The
individual appeared to be a blonde-haired white female contact 55-65 years of age, 6'0"-6'2" tall and weighing 200-240
Ibs with glasses.

EF: a
